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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 18-MC-24298

   SAGI GENGER,
                                                       SOUTHERN DISTRICT OF NEW YORK
             Third-Party Plaintiff,                    Civil Action No. 1:17-CV-8181

   v.

   ORLY GENGER,

         Third-Party Defendant.
  ________________________________________/

                    NON-PARTY ARIE GENGER’S MOTION TO QUASH OR
                    MODIFY SUBPOENA AND FOR A PROTECTIVE ORDER

         Pursuant to Federal Rule of Civil Procedure 45(d)(3)(A), non-party Arie Genger, through

  undersigned counsel, respectfully moves to quash or modify Third Party-Plaintiff and judgment

  creditor Sagi Genger’s Subpoena to Testify at a Deposition in a Civil Action, which was served

  on October 11, 2018 and is attached hereto as Exhibit A. Further, pursuant to Federal Rule of

  Civil Procedure 26(c)(1), non-party Arie Genger respectfully moves this Court for a protective

  order limiting the scope of both (1) the documents Arie is required to produce and (2) the subject

  matter of Arie’s deposition testimony, to documents and subjects relating solely to the execution

  of the judgment entered in favor of Sagi Genger against Third-Party Defendant and judgment

  debtor Orly Genger. Specifically, the document production and deposition testimony should be

  limited to documents and topics regarding Orly’s assets—that is, property she owns or debts she

  is owed at this time. 1 The substantial grounds supporting this motion are set out below.




         1
           Because the relevant parties and the movant share the same last name, first names will be
  used for clarity in this motion.
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                                   Introduction and Background

         On October 24, 2017, in the United States District Court for the Southern District of New

  York, Sagi filed a third-party complaint alleging breach of contract, among other things, against

  his sister, Orly. This lawsuit was filed the day after Sagi was sued for breach of contract by his

  mother, Dalia. This case was collectively captioned Dalia Genger v. Sagi Genger v. Orly Genger,

  Case No. 1:17-CV-8181. On August 17, 2018, the United States District Court for the Southern

  District of New York entered judgment in favor of Sagi and against Orly in the amount of

  $3,219,698 plus fees, expenses, and costs (the “Judgment”).

         On or around September 26, 2018, Sagi had delivered to his father, Arie, a Subpoena to

  Testify at a Deposition in a Civil Action—a subpoena purportedly issued from the United States

  District Court for the Southern District of Florida. That subpoena was technically deficient, as it

  was issued from the Southern District of Florida for an action pending in the Southern District of

  New York, and was signed by Sagi’s New York counsel rather than by an attorney authorized to

  practice in Florida. Without waiving the technical deficiency claim, Arie served timely Objections

  to the original subpoena on October 10, 2018. Those Objections are attached hereto as Exhibit B.

         On the afternoon of October 11, 2018, Sagi delivered to Arie’s Miami-Dade County

  apartment building a Subpoena to Testify at a Deposition in a Civil Action that, this time, was

  issued from the United States District Court for the Southern District of New York (the

  “Subpoena”). Sagi attached to the Subpoena a list of nine items titled “Document Requests and

  Subject Matter of Testimony” (see Exhibit A). The list was largely similar, though not identical,

  to that attached to the earlier subpoena. Arie’s responses to each request are detailed below.

         The issues before this Court are quite simple. First, the Subpoena should be quashed or

  modified under Federal Rule of Civil Procedure 45(d)(3)(A) because (1) the Subpoena is

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  technically deficient, and (2) the document requests seek information irrelevant to the execution

  of the Judgment and thus subject Arie, a non-party, to undue burden. 2 Second, a protective order

  is appropriate under Federal Rule of Civil Procedure 26(c)(1) because the scope of the document

  requests and proposed deposition testimony is overbroad and should be limited to documents and

  topics concerning the execution of the Judgment—that is, information relating to the assets of

  Orly, the judgment debtor.

                                               Discussion

  I.     The Subpoena Should Be Quashed or Modified Pursuant to Rule 45(d)

         Arie requests that the Subpoena be quashed or modified pursuant to Rule 45(d) of the

  Federal Rules of Civil Procedure.

         a. The Subpoena Is Procedurally Defective and Thus Unenforceable

         As a threshold matter, the Subpoena is procedurally defective. Sagi has elected to issue

  the Subpoena pursuant to the Federal Rules of Civil Procedure, which—in the case of a subpoena

  “command[ing] the production of documents”—explicitly require the issuing party to serve “a

  notice and a copy of the subpoena” to the actual parties to the litigation before serving “the person

  to whom [the subpoena] is directed,” Fed. R. Civ. P. 45(a)(4), in order to give those parties an

  opportunity to object, see Gonzalez v. RFJD Holding Co., No. 14-61041-CIV, 2014 WL

  12600141, at *2 (S.D. Fla. Sept. 2, 2014) (“The purpose of the ‘prior notice’ provision is to give

  an opposing party the opportunity to object to the subpoena prior to the date set forth in the

  subpoena.” (quoting Fla. Media, Inc. v. World Publ’ns, LLC, 236 F.R.D. 693, 695 (M.D. Fla.

  2006))).


         2
           Rule 45(d)(3)(A) requires that this motion for relief be brought in the district in which
  compliance is sought—namely, the Southern District of Florida—even though the Subpoena was
  issued out of the Southern District of New York.
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         Here, Orly, the other party to the underlying case, was not served with any notice or copy

  of the Subpoena, thus rendering the Subpoena unenforceable. Indeed, Rule 45’s “notice provision

  is mandatory and failure to abide by this requirement constitutes grounds to quash the subpoena.”

  Mirra v. Jordan, No. 13-CIV-5519, 2014 WL 2511020, at *3 (S.D.N.Y. May 28, 2014) (quashing

  subpoenas for failing to comply with Rule 45(a)(4) notice requirement); Fla. Media, Inc., 236

  F.R.D. at 695 (granting party’s motion to quash non-party subpoenas based on other party’s failure

  to provide notice); Cootes Drive LLC v. Internet Law Library, Inc., No. 01-CIV-0877, 2002 WL

  424647, at *2 (S.D.N.Y. Mar. 19, 2002) (reiterating order quashing subpoenas “solely on the lack

  of prior notice”). The Subpoena should thus be quashed for failing to comply with the mandatory

  notice requirement.

         In addition, at least on its face, the Subpoena is unreasonable in terms of timing. The

  Subpoena was delivered to Arie’s apartment building on October 11, 2018, when he was out of

  town, and called for a deposition on, and production of documents by, October 18, 2018. Federal

  Rule of Civil Procedure 45 provides that subpoenas must be quashed or modified for “fail[ing] to

  allow a reasonable time to comply.” Fed. R. Civ. P. 45(d)(3)(A)(i). See Bouchard Transp. Co. v.

  Associated Elec. & Gas Ins. Servs. Ltd., No. 15-CIV-6586, 2015 WL 6741852, at *2 (S.D.N.Y.

  Nov. 4, 2015) (quashing subpoena requiring compliance within five days); Brown v. Hendler, No.

  09-CIV-4486, 2011 WL 321139, at *2 (S.D.N.Y. Jan. 31, 2011) (quashing subpoena requiring

  compliance within nine days).

         To be clear, Arie does not believe that this is likely to be an issue. Indeed, counsel for Sagi

  and counsel for Arie should be able to agree on a mutually-acceptable date for a deposition once

  the issues set forth herein are resolved. Arie simply raises this issue now to avoid any argument

  that any objection to timing has been waived.

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         b. The Subpoena Seeks Documents and Testimony Beyond the Scope of Proper
            Discovery in Aid of Execution and Thus Should Be Modified

         Even if it is not quashed in its entirety, the Subpoena should be modified to protect Arie

  from having to provide documents or answer questions beyond the proper scope of discovery in

  aid of execution of a judgment.

         “Rule 45 of the Federal Rules of Civil Procedure applies in post-judgment discovery and

  authorizes a party’s attorney to issue both document and deposition subpoenas.” Universitas

  Educ., LLC v. Nova Group, Inc., No. 11-CIV-1590, 2013 WL 3328746, at *4 (S.D.N.Y. July 2,

  2013). The rule provides, in pertinent part, that “[a] party or attorney responsible for issuing and

  serving a subpoena must take reasonable steps to avoid imposing undue burden or expense on a

  person subject to the subpoena.” Fed. R. Civ. P. 45(d)(1). There are certain circumstances under

  which Rule 45 requires a court to quash or modify a subpoena. According to Rule 45(d)(3),

         [o]n timely motion, the court for the district where compliance is required must
         quash or modify a subpoena that: (i) fails to allow a reasonable time to comply; (ii)
         requires a person to comply beyond the geographical limits specified in Rule 45(c);
         (iii) requires disclosure of privileged or other protected matter, if no exception or
         waiver applies; or (iv) subjects a person to undue burden.

  Fed. R. Civ. P. 45(d)(3)(A).

         Given that the discovery Sagi seeks is to aid in the execution of the Judgment, the scope of

  the documents requested and deposition testimony proposed imposes on Arie an undue burden that

  is disproportionate to the narrow focus of this kind of post-judgment discovery. See Fed. R. Civ.

  P. 45(d)(3)(A)(iv) (requiring a court to quash or modify a subpoena that “subjects a person to

  undue burden”). “In determining whether a subpoena imposes undue burden or expense on a

  nonparty, courts must balance the requesting party’s interests in disclosure against the burden of

  disclosure on the nonparty.” Narcoossee Acquisitions, LLC v. Kohl’s Dept. Stores, Inc., No. 6:14-

  CV-203, 2014 WL 4279073, at *2 (M.D. Fla. Aug. 28, 2014) (citing 9A Charles A. Wright &
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  Arthur R. Miller, Federal Practice and Procedure § 2463.1 (3d ed.)). And, “[i]f a subpoena

  subjects a person to undue burden, the Court must quash or modify it.” Id. (citing Fed. R. Civ. P.

  45(d)(3)(A)(iv)).

         Here, the burden imposed on Arie stems from the overbreadth of the documents requested

  and the deposition testimony proposed, given the case’s procedural posture—that is, discovery in

  aid of execution of a judgment. Post-judgment discovery is governed by Federal Rule of Civil

  Procedure 69, which provides that “[i]n aid of the judgment or execution, the judgment creditor .

  . . may obtain discovery from any person—including the judgment debtor—as provided in these

  rules or by the procedure of the state where the court is located.” Fed. R. Civ. P. 69(a)(2). Thus,

  pursuant to this rule, “a judgment creditor may obtain post-judgment discovery pursuant to either

  the procedures set forth in the federal rules of civil procedure or under state practice.” 3 1st

  Technology, LLC v. Rational Enters. LTDA, No. 2:06-CV-01110, 2007 WL 5596692, at *4 (D.

  Nev. Nov. 13, 2007).

         Although “broad post-judgment discovery in aid of execution is the norm in federal and

  New York state courts,” “[t]he scope of discovery under Rule 69(a)(2) is constrained principally

  in that it must be calculated to assist in collecting on a judgment.” EM Ltd. v. Republic of

  Argentina, 695 F.3d 201, 207 (2d Cir. 2012), aff’d sub nom., Republic of Argentina v. NML

  Capital, Ltd., 573 U.S. 134 (2014) (emphasis added). In other words, despite its breadth, there are

  limits to post-judgment execution discovery in that the information sought must relate solely to

  identifying the assets of the judgment debtor that can be used to satisfy the judgment—the only

  relevant topic at this stage of the litigation. See Nat’l Serv. Indus., Inc. v. Vafla Corp., 694 F.2d


         3
          Because the underlying action is pending in the United States District Court for the
  Southern District of New York, the applicable state procedure for purposes of Rule 69 is that of
  New York.
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  246, 250 (11th Cir. 1982) (“A judgment creditor is entitled to discover the identity and location of

  any of the judgment debtor’s assets, wherever located.”); Santana v. RCSH Operations, LLC, No.

  10-61376-CIV, 2013 WL 12239127, at *2 (S.D. Fla. Jan. 22, 2013) (“[T]he judgment creditor

  must be given the freedom to make a broad inquiry to discover[] hidden or concealed assets of the

  judgment debtor.” (internal quotation marks omitted)); Amtrust N. Am., Inc. v. Preferred

  Contractors, No. 16-MC-0340, 2016 WL 6208288, at *3 (S.D.N.Y. Oct. 18, 2016) (“[T]he scope

  of discovery includes any information reasonably calculated to lead to the discovery of a judgment

  debtor’s assets.” (citing N.Y. C.P.L.R. § 5223; Fed. R. Civ. P. 69(a)(2))).

         Similarly, the relevant New York rule provides that a “judgment creditor may compel

  disclosure of all matter relevant to the satisfaction of the judgment.” N.Y. C.P.L.R. § 5223

  (emphasis added). In other words, “[l]ike the federal practice, post-judgment disclosure in New

  York is circumscribed by a requirement that the inquiry focus upon locating the assets of the

  judgment debtor.” Magnaleasing, Inc. v. Staten Island Mall, 76 F.R.D. 559, 561 n.2 (S.D.N.Y.

  1977) (emphases added). While “[i]t is not uncommon to seek asset discovery from third parties

  . . . that possess information pertaining to the judgment debtor’s assets,” EM Ltd., 695 F.3d at 207,

  the focus must remain on precisely that: the judgment debtor’s assets. See 12 Wright & Miller,

  Federal Practice and Procedure § 3014 (2d ed. 2018) (“The judgment creditor is allowed

  discovery to find out about assets on which execution can issue or about assets that have been

  fraudulently transferred or are otherwise beyond the reach of execution.” (emphases added)). And,

  as common sense dictates, those discoverable assets consist solely of property owned by, and debts

  owed to, the judgment debtor. See Black’s Law Dictionary (10th ed. 2014) (defining “asset” as

  “1. An item that is owned and has value. 2. (pl.) The entries on a balance sheet showing the items

  of property owned, including cash, inventory, equipment, real estate, accounts receivable, and

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  goodwill. 3. (pl.) All the property of a person (esp. a bankrupt or deceased person) available for

  paying debts or for distribution.”). Cf. N.Y. Debt. & Cred. Law § 270 (defining “‘assets’ of a

  debtor” for purposes of Article 10 of New York’s Debtor Creditor Law as “property not exempt

  from liability for his debts”).

          Moreover, special care must be taken to not unduly burden non-parties to the underlying

  action. See La Suisse, Societe d’Assurances Sur La Vie v. Kraus, 62 F. Supp. 3d 358, 361

  (S.D.N.Y. 2014) (“[U]nder Rule 69(a)(2) and existing case law, the general rule is that non-party

  discovery is limited to a search for the defendant’s hidden assets.” (internal quotation marks

  omitted)). Indeed, “the inquiry [under Rule 69] must be kept pertinent to the goal of discovering

  concealed assets of the judgment debtor and not be allowed to become a means of harassment of

  the debtor or third persons.” Caisson Corp. v. County West Bldg. Corp., 62 F.R.D. 331, 334 (E.D.

  Pa. 1974). “It has also been said that third persons can only be examined about assets of the

  judgment debtor and cannot be required to disclose their own assets.” Id.

          Detailed below are Sagi’s individual discovery requests followed by the reasons supporting

  the modification or protective order that Arie seeks. The concerns raised below regarding each of

  the document and testimony requests were set forth by Arie in the Objections filed on October 10,

  2018 (see Exhibit B). 4 The Discussions below are not verbatim repetitions of the Objections but

  are, rather, descriptions of Arie’s position and an articulation of why relief should be granted.




          4
           Even though the Objections referenced the original subpoena, they apply equally to the
  version of the Subpoena at issue here, as the only modification in the new Subpoena was a slight
  change to Request No. 9.
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         REQUEST NO. 1: All documents constituting, containing, reflecting or relating
         to any agreement or other financial arrangements involving Orly Genger and/or any
         group in which Orly Genger is a part.

         DISCUSSION REGARDING REQUEST NO. 1: This request is overbroad, unduly

  burdensome, disproportionate to the needs of the case at this stage, and not reasonably calculated

  to lead to the discovery of admissible evidence relevant to execution of the judgment. This request

  as written appears to seek far more than information regarding Orly’s assets and thus exceeds “the

  scope of discovery under Rule 69(a)(2) [which] is constrained principally in that it must be

  calculated to assist in collecting on a judgment.” See EM Ltd., 695 F.3d at 207; see also Amtrust

  N. Am., Inc., 2016 WL 6208288, at *3 (“[T]he scope of discovery includes any information

  reasonably calculated to lead to the discovery of a judgment debtor’s assets.”). Further, given that

  Arie is the father of the judgment debtor, this request could encompass an entire lifetime’s worth

  of information, especially insofar as it contains no time limitation. And, as noted, “the inquiry

  [under Rule 69] must be kept pertinent to the goal of discovering concealed assets of the judgment

  debtor and not be allowed to become a means of harassment of the debtor or third persons.”

  Caisson Corp., 62 F.R.D. at 334. Moreover, depending on how its scope is ultimately defined,

  this request seeks the production of potentially privileged and confidential information. For these

  reasons, this Court should limit this request to documents and testimony regarding Orly’s present

  assets—in other words, property owned by, and debts owed to, Orly.

         REQUEST NO. 2: All documents concerning any property held by or any debts
         owed to Orly Genger.

         DISCUSSION REGARDING REQUEST NO. 2: This request is overbroad and unduly

  burdensome insofar as it seeks “[a]ll documents” concerning any property held by or debts owed

  to the judgment debtor, and insofar as it contains no time limitation. Although Arie is not aware

  of any debts owed to Orly that would be the proper subject of discovery in aid of execution and
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   therefore has no documents reflecting any such debts, he has agreed that, upon resolution of his

   objections, he will provide appropriate, responsive documents in his possession, if any, and give

   testimony regarding property presently held or owned by the judgment debtor. Such property

   would come within the appropriate scope of post-judgment execution discovery, since the property

   would clearly constitute the judgment debtor’s assets. See EM Ltd., 695 F.3d at 207; Amtrust N.

   Am., Inc., 2016 WL 6208288, at *3.

          REQUEST NO. 3: All documents relating to: (A) the Settlement Agreement dated
          June 16, 2013 among Orly Genger, Arie Genger, Arnold Broser, David Broser, and
          Glenclova Investment Company, TR Investors, LLC, New TR Equity I, LLC, New
          TR Equity II, LLC, Trans-Resources, LLC, Jules Trump, Eddie Trump and Mark
          Hirsch (the “Orly Settlement Agreement”); (B) any escrow accounts/arrangements;
          and/or (C) any promissory notes issued thereunder.

          DISCUSSION REGARDING REQUEST NO. 3: This request is overbroad, unduly

   burdensome, disproportionate to the needs of the case at this stage, and not reasonably calculated

   to lead to the discovery of admissible evidence relevant to execution of the judgment. In addition,

   the term “Orly Settlement Agreement” is misleading and confusing. This request seeks far more

   than information about the judgment debtor’s assets, especially because no payments were made

   or owed to Orly under the June 2013 agreement. See EM Ltd., 695 F.3d at 207; Amtrust N. Am.,

   Inc., 2016 WL 6208288, at *3. To appropriately limit the scope of this request, Arie is willing to

   testify to the monetary gains Orly received from the settlement agreement—which, as it happens,

   are none—but he is not willing to testify to every topic whatsoever regarding this agreement. See

   Magnaleasing, Inc., 76 F.R.D. at 561 (“[T]he settlement agreement at issue here is relevant and

   discoverable only insofar as it relates to the existence or transfer of defendants’ assets.”). Further,

   this request seeks information relating to Arie and other parties that will have no bearing

   whatsoever on issues relating to discovery in aid of execution. See Caisson Corp., 62 F.R.D. at

   334 (“It has also been said that third persons can only be examined about assets of the judgment
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   debtor and cannot be required to disclose their own assets.”). In addition, the request seeks the

   production of materials and information already available to or in the possession of Sagi. See id.

   (“[T]he inquiry [under Rule 69] must be kept pertinent to the goal of discovering concealed assets

   of the judgment debtor and not be allowed to become a means of harassment of the debtor or third

   persons.”). It also seeks privileged and confidential information insofar as counsel was involved

   in communications relating to the referenced settlement agreement. As noted below, the same

   concerns apply to Requests Nos. 4-8, all of which involve aspects of the same settlement

   agreement.

          REQUEST NO. 4: All documents concerning the “undertaking” referred to in the
          Orly Settlement Agreement.

          DISCUSSION REGARDING REQUEST NO. 4:                         To avoid repetition, the same

   concerns and objections noted with regard to Request No. 3 apply to this Request.

          REQUEST NO. 5: All agreements as to the past, present or future disposition of
          any settlement proceeds under the Orly Settlement Agreement.

          DISCUSSION REGARDING REQUEST NO. 5:                         To avoid repetition, the same

   concerns and objections noted with regard to Request No. 3 apply to this Request.

          REQUEST NO. 6: All account statements for any escrow accounts related to the
          Orly Settlement Agreement.

          DISCUSSION REGARDING REQUEST NO. 6:                         To avoid repetition, the same

   concerns and objections noted with regard to Request No. 3 apply to this Request.

          REQUEST NO.7: All documents concerning any indemnity demands and/or
          indemnity payments made under the Orly Settlement Agreement.

          DISCUSSION REGARDING REQUEST NO. 7: To avoid repetition, the same concerns

   and objections noted with regard to Request No. 3 apply to this Request.

          REQUEST NO. 8: All payments made to any person or entity pursuant to the Orly
          Settlement Agreement.
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          DISCUSSION REGARDING REQUEST NO. 8: To avoid repetition, the same concerns

   and objections noted with regard to Request No. 3 apply to this Request.

          REQUEST NO. 9: All non-privileged communications regarding any of the
          foregoing subjects, including but not limited to all communications with any of the
          members identified in the Orly Settlement Agreement as the “Trump Group.”

          DISCUSSION REGARDING REQUEST NO. 9:                         To the extent that this request

   incorporates on its face the previous eight requests, the same concerns raised with regard to those

   requests apply here. In addition, the request for “all” communications with the “Trump Group” is

   plainly overbroad and imposes an undue burden on Arie. Moreover, the absence of any time

   limitation renders this request all the more unduly burdensome.

          In short, judgment creditor Sagi Genger seeks documents and testimony from non-party

   Arie Genger that far exceed the permissible scope of discovery in aid of execution of a judgment.

   This Court should therefore modify the Subpoena by limiting the scope of this discovery to only

   matters relating to the assets of judgment debtor Orly Genger—specifically, to property she owns

   and debts she is owed.

   II.    In the Alternative, a Protective Order Should be Granted Pursuant to Rule 26(c)

          As an alternative to relief under Rule 45, Arie seeks the same modifications set forth above

   pursuant to Rule 26 of the Federal Rules of Civil Procedure.

          Under Rule 26(c), “a party or any person from whom discovery is sought may move for a

   protective order . . . on matters relating to a deposition, in the court for the district where the

   deposition will be taken.” Fed. R. Civ. P. 26(c). Here, that court is the United States District Court

   for the Southern District of Florida. Thereafter, “[t]he court may, for good cause, issue an order

   to protect a party or person from annoyance, embarrassment, oppression, or undue burden or

   expense, including . . . forbidding inquiry into certain matters, or limiting the scope of disclosure
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   or discovery to certain matters.” Fed. R. Civ. P. 26(c)(1)(D). Indeed, in the context of post-

   judgment execution discovery, “[a] district court has broad latitude to determine the scope of

   discovery and to manage the discovery process,” and, “as in all matters relating to discovery, the

   district court has broad discretion to limit discovery in a prudential and proportionate way.” EM

   Ltd., 695 F.3d at 207 (citing Fed. R. Civ. P. 26(b)(2)).

          Given the breadth of both the documents Sagi requests and the subject matter he wants to

   cover at Arie’s deposition, there is certainly “good cause” for this Court to protect non-party Arie

   by limiting the scope of those discovery requests. Indeed, it would unduly burden Arie to produce

   documents and testify to matters that do not at all relate to the assets of the judgment debtor, and

   that thus do not advance the goal of satisfying the Judgment. Quite simply, the Subpoena is not a

   proper subpoena in aid of execution. Rather, it is a massive document request of the kind normally

   seen against an adverse party during the course of a run-of-the-mill commercial lawsuit. This

   Court should curtail the scope of this discovery.

                                            CONCLUSION

          For these reasons, non-party Arie Genger respectfully requests that this Court quash or

   modify judgment creditor Sagi Genger’s Subpoena or, in the alternative, enter a protective order

   appropriately limiting the scope of discovery in aid of execution of the Judgment.

                        CERTIFICATE OF GOOD FAITH CONFERENCE

          Pursuant to Local Rule 7.1(a)(3), on October 11, 2018 and October 17, 2018 undersigned

   counsel conferred via teleconference with John Dellaportas, counsel for Third-Party Plaintiff Sagi

   Genger. Despite good faith discussions, counsel was unable to reach an agreement about the legal

   and procedural issues detailed in this motion, although, as noted above, it is understood that

   counsel will work to find an appropriate date for any deposition upon resolution of the motion.

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   Dated: October 17, 2018                      Respectfully Submitted,

                                                /s/Gerald E. Greenberg
                                                GERALD E. GREENBERG
                                                Florida Bar No. 440094
                                                ggreenberg@gsgpa.com
                                                ADAM M. SCHACHTER
                                                Florida Bar No. 647101
                                                aschachter@gsgpa.com
                                                GELBER SCHACHTER & GREENBERG, P.A.
                                                1221 Brickell Avenue, Suite 2010
                                                Miami, Florida 33131
                                                Telephone: (305) 728-0950
                                                Facsimile: (305) 728-0951
                                                E-service: efilings@gsgpa.com

                                                Counsel for Non-Party Arie Genger




                                                  14
                                  Gelber Schachter & Greenberg, P.A.
                1221 Brickell Avenue ▪ Suite 2010 ▪ Miami, Florida 33131 ▪ www.gsgpa.com
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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 17th day of October 2018, a true and correct copy of the

   foregoing is being electronically filed with the Clerk of the Court using the CM/ECF filing system.

   I also certify that the foregoing document is being served on this date on all counsel of record on

   the attached Service List via e-mail and U.S. mail.

                                            SERVICE LIST

    John Dellaportas                                   Michael P. Bowen
    jdellaportas@kelleydrye.com                        mbowen@kasowitz.com
    KELLEY DRYE & WARREN LLP                           KASOWITZ, BENSON, TORRES LLP
    101 Park Avenue, 27th Floor                        1633 Broadway
    New York, NY 10178                                 New York, NY 10019

    Counsel for Third-Party Plaintiff                  Counsel for Third-Party Defendant


                                                         /s/Gerald E. Greenberg
                                                         GERALD E. GREENBERG




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                                    Gelber Schachter & Greenberg, P.A.
                  1221 Brickell Avenue ▪ Suite 2010 ▪ Miami, Florida 33131 ▪ www.gsgpa.com
